                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                     January 15, 2020

BY ECF
The Honorable Paul G. Gardephe
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Avenatti,
               S1 19 Cr. 373 (PGG)

Dear Judge Gardephe:

        The Government respectfully submits this supplemental letter pursuant to the Court’s order
dated today, January 15, 2020, regarding the defendant’s recent arrest in another district, and the
telephonic conference concerning the same.

        Enclosed is a copy of the declaration submitted in support of the motion for an arrest
warrant or order to show cause of the United States Attorney’s Office for the Central District of
California. The Government earlier today provided to the Court a copy of the motion (Dkt. No.
152-1).

                                                     Respectfully submitted,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney

                                             By:     s/ Daniel C. Richenthal
                                                     Matthew D. Podolsky
                                                     Daniel C. Richenthal
                                                     Robert B. Sobelman
                                                     Assistant United States Attorneys
                                                     (212) 637-1947/2109/2616

Enclosure

cc:    (by ECF)

       Counsel of Record
